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WILL LEMKUL
California Bar No. 219061

9915 Mira Mesa Blvd., Suite 300
San Diego, CA 92131
Telephone: (858§ 566-7600
Telecopier: (858 566-6602

PAULA DEEN ONLINE, INC.

a California Corporation,
Plaintiff,
v.

PAULA DEEN ENTERPRISES, I_,LC, a
Georgia Limitec`l Liability Company;
PAULA DEEN RETAIL, INC., Ge()rgia
Cor oration; PAULA DEEN ONLINE,
IN ., a Geor 'ia Corporation; MVP
GROUP INT RNATIONAL, INC, a
Kentuck Cor oration; WAL~MART

and DOES 1-10 Inclusive,
Defendants.

MORRIS, SULLIVAN & LEMKUL, LLP

MCCALL’S COUNTRY CANNING, INC.

STORE , IN ,, a Delaware Corporation;

Attorneys for DEFENDANTS MVP GROUP
INTERNATIONAL, INC.; PAULA DEEN
ENTERPRISES, LLC.; PAULA DEEN RETAIL, INC.;

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iase 3:09-cv-00952-LAB-BGS Document12-1 Filed 06/24/09 Page|D.Bl Pagelof 18

UNITED STATES ])IS'I`RICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

Case NO.: 09 CV 0952 LAB BLM -

MEM()RANDUM OF POINTS AND
AUTHORITIES IN SUPPORT OF
DEFENDANTS PAULA DEEN
ENTERPRISES, LLC, PAULA
DEEN RETAIL, INC., PAULA
DEEN ONLINE,'INC., AND MVP
GROUP INTERNATIONAL, INC.’S
MOTION TO DISMISS
PLAINTIFF’S COMPLAINT FOR
FAILURE TO STATE A CLAIM
UPON WHICH RELIEF CAN BE
GRANTED

[FRCP lz(b)(s), CivLR 7.1]
ORAL ARGUMENT REOUESTED

Hearing Date: August 24, 2009

Hearing Time: 11:15 a.m.

Courtroom: 9

Judge: Hon. Larry
Burns

 

 

Defcndants’ Motion to Dismiss Plaintiff’s Complaint for Failure to State a Claim (FRCP 12(b)(6)
Case No. 09 CV 0952 LAB BLM

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Case 3:09-cv-00952-LAB-BGS Document12-1 Filed 06/24/09 Page|D.52 PageZof 18

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10
11
12
13
14
15
16
17
13
19
20
21
22
23
24
25
26
27
28

 

II.

III.

 

 

 

TABLE OF C()NTENTS
INTRODUCTION ................................................. 2
FACTUAL BACKGROUND ......................................... 3
ARGUMENT ..................................................... 3
1. STANDARD FOR MOTION TO DISMISS. ..................... 3
2. MC_CALL’S HAS NOT STATED ANY PROPER CLAIMS FOR
RELIEF UNI)ER THE LANHAM ACT. CALIFORNIA OR
C§!MMON LAW ............................................ 4
A. McCall’s Has Not Stated a Claim for Trademark Infringement or
Tradmark Dilution (First Claim for Reliei) : ..................... 4
1. McCalt ’S Has Not Statea' a Clat`m for Traa'emark ]nj?"t'ngment Because lt
Has NotAlleged a Lz'kelt'hood afCotzquz'On ........................ 4
2. McCall’s Ha.s' Not Statea’ a Claim for Trademark Dt'lutt`on Because lt Has
Not Alleged That The McCall'S Mark is "Famous" or that Defendant.s' Are
Using art ’Va'entica[ Mark. " ..................................... 6
3. McCaZ[’s Ft'rst Claz`m for Relt`ef Under the Lanham Act Does not Pt"ovtde
Fot" Recovery ofPuntttve Damages. .............................. 8
4. McCalZ’s Has Not Stated a C!at`mfor Contrt`butory or Vz’carious Trademar/c
Inj?”t'ngement. ................................................ 8
B. McCall's Has N ot Stated a Claim for Unfair Competition, False
Designation of Origin, and False Advertising Under the Lanham Act
(Second Claim for Relief) ..................................... 9
l. McCal['s Has Not Stated a Clatm for Unfatt" Cc)m etition ar False
Desi nation ofOrtgtrz Becaase ft has Not Allege a Lt`kelt`hooa' of
Canj§tston. .................................................. 9
2. McCall's Has Not Stated a Clatmfot’ Fal.s‘e Actverttstng Because ]t Has Not
Al!egea’ a False Statement. .................................... 10
C. McCall's Has Not Stated a Claim For Statutory Trademark
Infringement and Dilution (Third Claim for Relief). .............. l l
l. McCall's Has Not Alleged Standtng to Suefor Statatory Traa'emark
Infringement Amt Has Not Statea' a Claim ........................ l 1
2. McCall’s Has Not Stated a Clat'm for State Law Traaemark Dtlution

Because ]t Has Not Allegea’ That The McCall'S Mark is "Famous" Or that
Defendants Are Ust`ng an Identz`cal Mark .......................... l l

 

TABLE OF CONTENTS AND AUTHORI']`IES - CaSe No,: 09 CV 0952 I.AB BLM
i

 

Case 3:09-cv-00952-LAB-BGS Document12-1 Filed 06/24/09 Page|D.BS PageSof 18

 

1 D. McCalI's Has Not Stated a Claim for Unfair Competition Because lt
Has Not Alleged an Unlawful, Unfair, or Fraudulent Business Act
2 (Fourth Claim for Relief). .................................... 12
3 E McCall's Has Not Stated a Claim For Deceptive Trade Practices
Because lt Has Not Alleged Any Deceptive or Misleading Statements or
4 Advertising (Fifth Claim for Relief). ........................... 12
5 F. McCall's Has Not Stated a Claim for Common Law Trademark
Infringement and Unfair Competition Because It Has Not Alleged a
6 Likelihood of Confusion (Sixth Claim for Re_lief). ................ 13
7 IV. CONCLUSION ................................................... 14
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
TABLE OF CGNTENTS ANI) AuTHom'rlEs - ease No.: 09 Cv 0952 L/\B BLM

 

ii

 

Case 3:09-cv-00952-LAB-BGS Document12-1 Filed 06/24/09 Page|D.54 Page401°18

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10
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12
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17
13
19
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24
25
26
27
28

 

 

 

TABLE OF AUTHORITIES
Ashcroft V.I bal
129 S. Ct. 1927, 1949-1952 (2009) (“Iqbal) ................................. 3,5
Ar)l:)lied Information Sciences Corp. v. eBAY. Inc. _
511 F.3d 966, 969 (9111 Cir. 2007). .......................................... 4

Interscope Records v. Rodriguez

 

 

 

 

 

 

 

 

 

 

Civ. NO. 060\/2485~]3, 2007 WL 2408484, at *1 (S.D. Cal. Aug. 14, 2007) (not reported) 5
Jada Toys, Inc. v. Mattel, Inc.

518 F.3d 628, 634 (9th Cir. 2008) (citing 15 U.S.C. § 1125(0)(1)) ............... 6,12
Averv Dennison Corn. v. Suthon

189 F.3d 868, 873-74 (9th Cir.1999) ........................................ 7
Corsair Memo§y, Inc. v. Corsair?.com
2008 WL 4820789, *3 (N.D.Cal.,2008) ...................................... 7
T}; Inc. v. Perryman
306 F.3d 509,511 (7th Cir.,2002) ............................................. 7
Electronics Corp. 01` America v. Honevwell. Inc.
358 F.Supp. 1230, 1234-1235 (1973) ........................................ 8
Ffeischmann Distilling Corp. v. Maier Brewintz CO.
386 U.S. 714, 720 (1967) .................................................. 8
Perfect 10, Inc. v. Visa Intern. Service Ass'n
494 F.3d 788, 806 (9th Cir. 2007) ..................... '. ..................... 9
E. & J. Gallo Winerv v. Gallo Cattle CO.
967 F.2d 1280, 1288 n. 2 (91;11 Cir.1992) ..................................... 10
M2 Sof’tware. lnc.. v. Madacv Entertainment
421 F.3d 1073, 1080,11.5 (9tb Cir, 2005) ............................... 10,11,13
Southland Sod Farms v. Stover Seed Co.

108 F.3d 1134, 1139 (9th Cir. 1997). ....................................... 10
Panavision Int'l. L.P. v. Toeppen

141 F.Bd 1316, 1324 (9th C11‘.1998) ........................................ 12
Bell Atlantic Cor\:). v. Twombly

550 U.S. 544 (2007) ..................................................... 12

Wifliams v. Gerber Products Co.
552 F.3d 934, 938 (9th Cir. 2008)(citir1g Cal. BuS. and Prof. Code § 17500). ....... 13

 

TABLE 014 CONTENTS AND AUTHORlTlES - ease No.: 09 cv 0952 l,.AB BLM
iii

 

Case 3:09-cv-00952-LAB-BGS Document12-1 Filed 06/24/09 Page|D.55 Page$of 18

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10
11
12
13
14
15
16
17
13
19
20
21
22
23
24
25
26
27
23

 

STATUTES
(“FRCP”) 12(b)(6) ....................................................... 2
(“FRCP”) 8(0)(2) ........................................................ 3
Lanham Act, 15 U.S.C. Section 1114 ..................................... 4,10
Lanham Act, 15 U.S.C. Section 1125 ..................................... 6,10
Lanharn Act § 43(C)(2), 15 U.S.C.A. § 1125(C)(2) .......................... 7,10
Lanharn Act,” 15 U.S.C. § 1117 ............................................ 8
Cal. BuS. & Pr()f. Code § 14245 (West 2009) ................................. 1 1
Cal. Bus. & Prof. Code § 17200 (West 2009) ............ : .................... 12
NHSCELLANEOUS
H.R.Rep. No. 109-23, at 9 (2005), reprinted in 2006 U.S.C.C.A.N. 1091, 1097-'98. , . , . 7
McCarthy 011 Trademarks ................................................. 7
McCarthy on Tradernarks § 24:104. ......................................... 7
Restatement Third, Unfair Competition § 36, comment “n” (1995) ................. 8
McCarthy on Tradelnarks § 30:97. .......................................... 8
59 Cal. Jur. 3d Trademarks and Tradenames § 28 .............................. ll

5 Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 1356. . . . 12
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TABLE OF CONTENTS AND AUTHORIT|ES - Casc No.: 09 CV 0952 1143 Bl.M
iv

 

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diase 3:09-cv-00952-LAB-BGS Document 12-1 Filed 06/24/09 Page|D.56 Page€ot 18

NOW APPEARS DEFENDANTS PAULA DEEN ENTERPRISES, LLC, PAULA
DEEN RETAIL, INC., PAULA DEEN ONLINE, INC., and MVP GROUP
INTERNATIONAL, INC., (hereinafter “Defendants”), severing themselves from all
other Defendants, if any, and hereby respectfully submit the following Memorandum of
Points and Authorities in Support of Defendants’ Motion to Dismiss Plaintiff’ s Complaint
for Failure to State a Claim upon Which Relief Can Be Granted under Fed. R. Civ. Proc.
(“FRCP”) 12(b)(6).

This Motion is supported by the following Memorandum of Points and
Authorities, any Reply filed in support of this Motion, the pleadings and papers on file
herein, oral argument and any other papers and pleadings offered at any hearing on
Defendants’ Motion. l

MEMORANDUM OF P()INTS AND AUTH()RITIES
I.
INTRODUCTION

PlaintifchCal]’s Country Canning, Inc. (“McCall’s”) brings this action against
Defendants for, inter alia, trademark and trade dress infringement Although McCall’s
asserts multiple claims under federal, state and common laW, l\/lcCall’s Complaint
includes little 4 if any 4 factual content to support McCall’s allegations For example,
McCall’s alleges that all of the Defendants are selling candles that infringe McCall’s
trademarks and trade dress m yet McCall’s makes no effort to identify, or describe, any of
the allegedly infringing candles manufactured and/or sold by Defendants. l\/IcCall’s
asserts various claims of false advertising, but McCall’s does not identify any purportedly
false statement by any Defendant. McCall’s alleges “dilution,” but l\/loCall’s fails to
plead any factual or legal basis for this claim whatsoever. Accordingly, McCall’s
Complaint does not contain sufficient factual allegations to state a claim for relief that is

“plausible on its face” and the Complaint should therefore be dismissed

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Del`endants’ Motion to Dismiss Plaintifl"s Complaint for Failure to Statc a Claim (FRCP 12(b)(6)
Case No. 09 CV 0952 LAB BLM

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HZaSe 3:09-cv-00952-LAB-BGS Document 12-1 Filed 06/24/09 Page|D.B? Page?ot 18

II.
FACTUAL BACKGROUND

Paula Deen Enterprises is a Georgia limited liability company. Paula Deen Retail,
Inc., and Paula Deen Online, lnc., are both Georgia corporations See, McCall’s
Complaint at 1[11 3~5. Defendant MVP is a Kentucky corporation See, McCall’s
Complaint at 1[ 6, Plaintiff l\/lcCall’s is a California corporation that sells candles
“packaged to convey a unlque, rustic” appearance (the “l\/lcCall’s Candles”). See,
McCall’s Complaint at 1111 2, 13. McCall’s is the owner of a trademark registration for the
McCall’s Candles. See, McCall’s Complaint at 11 15 and Exhibit “A,” attached to
McCall’s Complaint. McCall’s brings this action against the Paula Deen Companies,
MVP Group International, lnc. (“MVP Group”), and Wal-Mart Stores, lnc. (“Wal-Mart”)
asserting claims under the Lanham Act (Counts l and Il) and California state law (Counts
III-VI). See, McCall’s Complaint at 111 6-7, 21-46.

ln support ofits claims, l\/IcCall’s alleges “on information and belief” that all of
the Defendants are “in the business of selling candles,” including candles that “use
l\/lcCall’s rustic appearance, elements of Which are described” in McCall’s trademark
registration See, McCall’s Complaint at 11 17. McCall’s further alleges, “on information
and belief,” that all of the Defendants began selling these candles after McCall’s Candles
became known for their rustic look. See, McCall’s Complaint at 11 17. The registered
trademark attached as Exhibit “A” to McCall’s Complaint is devoid of any language that
McCall’s has protected trademark rights surrounding the rustic look of their candles. See,
McCall’s Complaint at ‘l[ 15 and Exhibit “A,” attached to McCall’s Complaintl

III.
ARGUMENT

1. STANDARI) FOR MOTION TO DISMISS.

Under Fed. R. Civ. Proc. 8(a)(2), a pleading must contain a short and plain

statement of the claim showing that the pleader is entitled to relief. A pleading that offers

 

Defendants’ l\"lotion to Dismiss Plaintil`f’s Complaint for Failure to State a Claim (FRCP lZ(b)(())
Case No. 09 CV 0952 LAB BLM

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merely “labels and conclusions” or a “formulaic recitation of the elements of a cause of
action will not do.” Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949_1952 (2009). As the
Supreme Court recently explained in Iqbal, to survive a motion to dismiss, a complaint
must contain sufficient factual matter to state a claim to relief that is “plausible on its
face.” Ial. A claim has facial plausibility when the plaintiff pleads factual content that
allows the court to draw the reasonable inference that the defendant is liable for the
misconduct alleged Ia'. This standard requires more than “a sheer possibility that the
defendant has acted unlawfully.” Id.

The Supreme Court instructs that when considering a motion to dismiss, a district
court should apply a two-pronged approach First, the court should identify allegations
that are no more than conclusions Id. at 1949. Such allegations are not entitled to the
assumption of truth. Id. Second, the court should consider any well-pleaded allegations,
assume their veracity, and determine whether they plausibly give rise to an entitlement to
relief. Id. lf the well~pleaded facts do not permit the court to infer more than “the mere
possibility of misconduct,” the complaint has not shown that the pleader is entitled to
relief and should be dismissed lal.

2. MCCALL'S _HAS NOT STATED ANY PROPER CLAIMS FOR

RELIEF UNDER THE LANHAM ACT, CALIFORNIA OR

COMMON LAW.

A. McCall'S Has Not Stated a Claim for Trademark

Infringcmcnt or Tradenlark I)ilution (First Claim for
Relief).
I. McCa!l's Has Not Stateal a Clatm for

Tr'aa'emark Inji”z`ngement Because lt Has Not
Alleged a Lt'kelthooal of Confasion.

 

 

 

To state a claim for trademark infringement under the Lanharn Act, 15 U.S.C.
Section 1114, McCall's must plead facts sufficient for the Court to reasonably infer that:
1) McCall‘s has a valid, protectable trademark, and 2) that the Defendants' use of the
trademark is likely to cause confusionl Applted Infc)rmation Sctences Corp. v. eBA Y, lnc.,

511 F.3d 966, 969 (9th Cir. 2007). l\/lcCall‘s has not met its pleading burden with respect

 

Dei'endants’ Motion to Dismiss Plaintifi"s Complaint for Failure to State a Claim (FRCP 12(b)(6)
Case No. 09 CV 0952 LAB BLM

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to this claim.

McCall's alleges that the Defendants infringed its trademark for the McCall's
Candles by selling candles with "sirnilar" trade dress. See, Plaintiff’s Complaint at 1111 17;
22. The only non-conclusory allegations regarding Defendants alleged use of l\/lcCall's
trade dress, however, are found at paragraph seventeen (17). There, l\/IcCall's alleges:"on
information and belief," that l) all Defendants are "in the business of selling candles;"
and 2) that some of the candles allegedly sold by the Defendants "use l\/IcCall‘s rustic
appearance, elements of which are described" in McCall's trademark registration Yet,
McCall’s trademark registration says nothing at all of any rasttc appearance See,
Plaintiffs Complaint, Exhibit “A.” Moreover, these allegations do not support a
plausible claim for relief that the candles purportedly sold by the Defendants "create a
likelihood of coniiision" with the McCall's Candles.

As explained in labal, a claim has facial plausibility only when the plaintiff pleads
factual content that allows the court to draw the reasonable inference that the defendant is
liable for the misconduct alleged. labal, 129 S.Ct. at 1949. There is no such factual
content in the McCall’s Complaint Instead, l\/lcCall‘s merely alleges, 072 information and
belief, that all of the Defendants sell candles, and that some of these candles have
unspecified similarities to the McCall's Candles. McCall's does not allege which candles
purportedly sold by the Defendants are "similar" to the l\/lcCall's Candles, nor does
McCall's describe the purported similarities between the l\/lcCall's Candles and the
Defendants' unidentified, purportedly infringing candles. l\/lcCall's allegations of
infringement are nothing more than "naked assertion[s] devoid of further factual content."
Ial.

Because l\/lcCall‘s allegations - at most - permit the Court to infer only the "mere
possibility" that candles sold by the Defendants create a likelihood of confusion, l\/lcCal|'s
has not shown that it is entitled to relief on its trademark infringement claim, and the

claim against the Defendants should be dismissed See laterscope Recorals v. Roart-gaez,

 

Defendants’ Motion to Dismiss P|aintifl’s Complaint for Failure to State a Claim (FRCP 12(b)(6)
Casc No. 09 CV 0952 LAB BLM

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Civ. No. 06cv2485-B, 2007 WL 2408484, at *1 (S.D. Cal. Aug. 14, 2007) (not reported)
(Complaint did not state a claim for copyright infringement because "other than the bare
conclusory statement that on 'information and belief [d]efendant has downloaded,
distributed and/or made available for distribution to the public copyrighted works,
[p]laintiffs have presented no facts that would indicate that this allegation is anything
more than speculation").

2. McCall's Has Not Statea’ a Claitn for

Traalemark Dilation Because lt Has Not A !!egeal

That The McCall ’s Mark is “Famotts ” or that
Defendants Are Using an “Identical Mark.”

 

To state a claim for trademark dilution under the Lanham Act, 15 U.S.C. Section

 

1125, McCall's must plead sufficient facts for the court to infer that: l) the l\/lcCall's
trademark is famous an_d distinctive; 2) the Defendants are making use of the trademark
in commerce; 3) the Defendants’ use began after the trade mark became famous; and 4)
Defendants’ use of the trademark is likely to cause dilution by blurring or by tarnishrnent.
Jaala Toys, lnc. v. Mattel, Inc., 518 F.3d 628, 634 (9th Cir. 2008) (citing 15 U.S.C. §
1125(c)(l)). For l\/lcCall's to establish that its trademark is being unlawfully used in
commerce by Defendants, “the mark used by [MVP and the Paula Deen Companies] must
be identical, or nearly identical, to [McCall's] mark.” Ia'. They are not “identical.” They
are not even similar. More importantly, they are not plead in the Complaint as identicall
McCall's can not sustain a claim for trademark dilution against Defendants without
first alleging that its mark is “famous.” McCall’s does not so allege anywhere in its
Complaint that its mark(s) are c‘famous.” See, Plaintiff’s Complaint at 1111 13-33. ln
addition, McCall’s has not alleged that Defendants are using a mark that is identical, or
nearly identical, to the McCall's mark. This alone renders McCall’s Complaint fatally
deficient on any dilution claim. Jada Toys, lnc., 518 F.3d at 634. Nor can the Court
reasonably infer, from the skeletal allegations in the Complaint, that the unidentified

candles purportedly being sold by Defendants are identical, or nearly identical, to the

 

Defendants’ Motion to Dlsmiss Plaintifi“’s Complaint for F`ai|ure to State a Claim (FRCP 12(b)(6)
Case No. 09 CV 0952 LAB BLM

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McCall's Candles. Thus, i\/lcCall's has not stated a proper claim against these Defendants
for trademark dilution. '

Even if McCall’s were to allege 4 somehow »- in their Complaint that their mark(s)
are “famous,” such an allegation is fatuous. In order to be “famous,” a mark must be
“widely recognized by the general consuming pubic of the United States” as a designation
indicating a single source of goods or servicesl Lanham Act § 43(C)(2), 15 U.S.C.A. §
1125(C)(2). This is a difficult and demanding requirementl Avery Dennison Corp. v.
Sampton, 189 F.3d 868, 873-74 (9th Cir.l999); Corsair Memory, lnc. v. Corsair?.com,
2008 WL 4820789, *3 (N.D.Cal.,2008). Quoting Avery Dennison, the Corsair Memory
Court stated that:

_Under 15 U.S_.C. § 1125(c)(l'?, a mark holder may obtain

ln_}unctlve relief to combat d1 ution b blurrm or

“tarnishment” even i_n_the absence o any ac_tu_a _or likely

pgpf;,ls‘rfc;ll:noorucsopli§;e}:t’i’on, or actual economlc ln_]ury, b_ut only
Corsair Memory, lnc., 2008 WL 4820789 at *4 (cmphasis added).

Dilution is a cause of action “invented and reserved” for a select class of marks,
“those marks with such powerful consumer associations that even non-competing uses
can impinge on their value .” Ial. (emphasis added). Dilution may not be raised for marks
which merely have an inherent or acquired “distinctiveness.” ]d.

As McCall’s (alleged) trademarks can never be considered “famous,” McCall’s
claims of “dilution” under the Lanham Act must fail.

lt is anticipated that McCall’s may argue that its mark is famous in a “niche
market,” as dilution claims were previously allowed in such cases. However, Congress
expressly amended § 1125(0)(2) in 2006 to deny dilution protection to marks which were
only “famous” in “niche markets.” H.R.Rep. No. 109-23, at 9 (2005), reprinted in 2006

 

1See, generally Testimony of Anne Gundlefinger, President, lnternational Trademark
Association, before l-louse subcommittee on Courts, the internet and lntellectual Property, Committee on
the Judiciary, February 17, 2005, (109th Cong., lst Sess), 2005 WL 408425. McCarthy on Trademarks §
24:104.
Defendants’ Motion to Dismiss Plaintiff"s Complaint for F`ailure to State a Claim (FRCP lZ(b)(6)
Case No. 09 CV 0952 LAB BLM
_ 7 _

 

 

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diase 3:09-cv-00952-LAB-BGS Document 12-1 Filed 06/24/09 Page|D.GZ Page 12 otl

U.S.C.C.A.N. 1091, 1097-98.2 Only “famous” marks, such as “Tiffany & Co.,”3 are the
types of marks which may seek dilution protection See, e.g., McCarthy on Trademarks
§ 24:104. Accordingly, since McCall’s is not a “famous” mark, McCall’s dilution claim
should be dismissed forthwith
3. McCa[Z 's First Claimfor Reltef Under the
Lanham Aci Does not Provide For Recovery Of
Punitive Damages

McCall’s first claim for relief for, inter alia, trademark infringement is proffered
“under the Lanham Act,” 15 U.S.C. § 1117. See, McCall’s Complaint at p. 5, line 13.
McCall’s Complaint then requests “punitive damages” in the first claim. See, Complaint
at p. 6, lines ] 1-12. Punitive damages, however, are not recoverable under the Lanham
Act. Electronics Corp. ofAmerica v. Honeywel[, lnc., 358 F.Supp. 1230, 1234-1235
(1973).

In Hone)a»vell, the court notes that Congress, in enacting § 11 17, “meticulously
detailed the remedies” available in trademark cases. Continuing, the Honeywe[[ Court,
quoting the U.S. Supreme Court, stated:

When a cause of action has been created by a statute which

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ot er reme les s ou n__o_t_ rea y p
Honeywell, 358 F. Supp at 1235 (emphasis added), citing Fleischmann Distilling Corp. v.
Mater Brewing Co., 386 U.S. 714, 720 (1967); See, also, Restatement Third, Unfair
Competition § 36, comment “n” (1995) ("Punitive damages arc not available in actions
under the Lanham Act."); McCarthy on 'l"rademarks § 30:97. Since McCall’s has
requested damages which are unavailable under the Lanham Act, l\/lcCall’s first claim for

relief must be dismissed as to the punitive damages claim.

4. McCalZ’s Has Not Stateal a Claimfor Contributory or
Vicarioas Traalemark Infringement.

 

2See, Corsair' Memot'y, lnc., 2008 WL 4820789 at *4.

3See, Ty lnc. v. Perryman, 306 l"`.3d 509, 51 l (7tlt Cir., 2002).

 

Defendants’ Motion to Dismiss Plaintiff’s Complaint for Fai|ure to State a Claim (F`RCP 12(b)(6)
Case No. 09 CV 0952 LAB BLM

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diase 3:09-cv-00952-LAB-BGS Document12-1 Filed 06/24/09 Page|D.GS Page 13 ot1

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Although unclear, it seems that McCall's is attempting to assert claims for
contributory or vicarious trademark infringement See, Plaintiff‘s Complaint at 11 25. If
so, McCalI’s complaint for contributory, or vicarious trademark infringement fails
because McCall’s has failed to allege primary infringement Assuming, arguendo, that
McCall's has alleged a primary infringement against one of the other Defendants,
McCall's has not stated a claim for contributory or vicarious infringement against l\/IVP or
the Paula Deen Companies.

To state a claim for contributory trademark infringement McCall's must plead
sufficient facts for the Court to infer that the Paula Deen Companies: l) intentionally
induced the primary infringer to infringe; or 2) continued to supply an infringing product
to an infringer with knowledge that the infringer is mislabeling the particular product
supplied. Perfect ]0, lnc. v. Visa latern. Service Ass'n, 494 F.3d 788, 806 (9th Cir. 2007).

The only allegations in the Complaint relevant to McCall's claim for contributory
infringement are found at ‘ll 23. The allegations, however, are nothing more than a
formulaic recitation of the elelnents of a cause of action for trade dress infringement See
McCall’s Complaint at ‘11 23("Defendants either intentionally induced, caused, or
materially contributed to others infringing l\/lcCall's [t]rade [d]ress or continued to
produce or distribute a product knowing or having reason to know the product infringed
McCall's [t]rade [d]ress."). Thus, McCall's has not stated a claim against l\/IVP or the
Paula Deen Companies for contributory trademark infringement and the claim should be
dismissed

To State a proper claim for vicarious liability for trademark infringement McCall's
must plead Suf`ficient facts that infer that Defendants and an infringer have an apparent or
actual partnership, have authority to bind one another in transactions with third parties, or
exercise joint ownership or control over the infringing product Perfect 10, Inc., 494 F.3d
at 807. Again, there are no facts alleged in McCall’s Complaint relevant to this pleading

requirement Thus, l\/IcCall's has not stated a claim against l\/IVP or the Paula Deen

 

Defendants’ lVlotion to Dismiss Plaintift"s Complaint for Failure to State a C|aim (FRCP lZ(b)(6)
Case No. 09 CV 0952 LAB BLM

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diase 3:09-cv-00952-LAB-BGS Document12-1 Filed 06/24/09 Page|D.64 Page 14 ot1

Companies for vicarious trademark infringement This claim should be dismissed
B. McCall's Has Not Stated a Claim for Unfair Competition, False
Designation of Ori in, and False Advertising Under the Lanham Act
(Second Claim for elief).
l. McCal!'s Has Not Stated a Claimfor Unfair
Competition or False Desi nation 0 Origin
Becaase It has NotAllege a Likeli coal of
Cot'tfusion.

The essential elements of claims for unfair competition and false designation under
the Lanham Act, 15 U.S.C. Section 1125, are the same as those for trademark
infringement under the Lanham Act, 15 U.S.C. Section ll 14. E. & J. Gallo Winery v.
Galto Cattle Co., 967 F.2d 1280, 1288 n. 2 (9th Cir.l992)', MZ Software, lnc., v. Madacy
Entertatnment, 421 F.3d 1073, 1080, n.5 (9th Cir. 2005). Both claims hinge on a showing
of a "likelihood of confusion" between the McCall's and Defendants’ marks Thus,
McCall's claims for unfair competition and false designation of origin under the Lanham
Act should be dismissed for the same reasons that McCall's trademark infringement claim
should be dismissed See, Argument Section A, supra

2. McCal!'s Has Not Stated a Claimfor False
Advertising Becaase lt Has ]\fotAllegea1 a False
Statement.

To state a claim for false advertising under the Lanham Act, 15 U.S.C. Section
1125, MeCall's must plead sufficient facts for the court to infer: l) a false statement of
fact was made by Defendants in a commercial advertisement about its own product or
about McCall's product; 2) the statement actually deceived or has the tendency to deceive
a substantial segment of its audience; 3) the deception is material, in that it is likely to
influence the purchasing decision; 4) the Defendants caused the false statement to enter
` interstate commerce; and 5) l\/lcCall's has been, or is likely to be, inj_ured as a result of the
false statement either by direct diversion of sales from itself to Defendants or by a
lessening of the goodwill associated with its products. Soathlana' Sod F arms v. Stover

Seea' Co., 108 F.3d 1134, 1139 (9th Cir. 1997).

McCall's has not stated a proper claim for false advertising because it has not

 

Det'endants’ Motion to Dismiss P|aintil'l‘s Complaint for Failure to State a Claim (FRCP lZ(b)(6)
Case No. 09 CV 0952 LAB BLM

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diase 3:09-cv-00952-LAB-BGS Document12-1 Filed 06/24/09 Page|D.GB Page 15 ot1

alleged that any Defendant made a single false statement in an advertisement or
otherwise In the absence of such an allegation, the Court cannot reasonably infer that the
Defendants are liable for false advertising under the Lanham Act.

C. McCall's Has Not Stated a Claim For Statutory

Trademark Infringement and Dilution (Third Claim for
Relief).

l. McCall's Has Not Allegea' Stana'ihg to Suefor
Statutory Trademark Infringement Aha' Has Not

Stated a Clatm.

McCalI's cannot assert a claim for statutory trademark infringement under the
California Business and Professions Code, Section 14200, et seq., because l\/lcCall's has
not alleged that it is the owner of a trademark registered with the California Secretary of
State. Cal. Bus. & Prof. Code § 14245 (West 2009)("A person who does any of the
following shall be subject to a civil action by the owner of the registered mark. . . ."); 59
Cal. Jur. 3d Trademarks and Tradenames § 28 (noting that "the owner of a mark
registered under the [California] Trademark Law" may bring a civil action for
inhingement).

Assuming, arguendo, that l\/IcCall's trademark is registered with the California
Secretary of State, however, McCall's still has not stated a claim for trademark
infringement under Section 14200, et seq. To state a claim for trademark infringement
under Section 14200, et seq., McCall's must plead sufficient facts for the court to infer a
likelihood of confusion. MZ Software, lnc. v. Maalacy Entertaihment, 421 F.3d 107 3,
1080 (9th Cir. 2005). As explained in Section 2A, sapra, l\/IcCall‘s has not pleaded
sufficient facts for the Court to make such an inference.

2. McCall's Has Not Stateci a Claimfor State Law
Traoiemark Dilution Becaase lt Has Not Attegea'
That The McCaH 's Mark is “Famous ” or that
Defendants Are Usirtg an ]dentical Mark.

The analysis of a dilution claim is the same under both federal and California state

law. See, Panavision Int’l, L.P. v. Toeppeh, 141 F.3d 1316, 1324 (9th Cir.1998). McCall’s

 

Del'endants’ lVlotion to Dismiss Plaintiff’s Complaint for Failu re to State a Claim (FRCP lZ(b)(G)
Case No. 09 CV 0952 LAB BLM

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ase 3:09-cv-00952-LAB-BGS Document12-1 Filed 06/24/09 Page|D.G€ Page 16 ot1

state law “dilution” claim fails here for the exact same reason it fails under the Lanham
Act. The McCall’s mark is not famous

Also, l\/lcCall’s fails to plead any facts that the two condicting marks at issue in
this case are “identical.” This too is a fatal flaw compelling dismissal ochCall’s Third
Claim for Relief for Trademark lnfringement and Dilution under the California Business
and Professions Code. The elements of a claim for trademark dilution under the
California Business and Professions Code (§14200, et seq.), are the same as those for

trademark dilution under the Lanham Act. Jaa'a Toys, Inc., 518 F.3d at 634.

D. McCall's Has Not Stated a Claim for Unfair Competition
Because It Has Not Alleged an Unlawful, Unfair, or Fraudulent
Business Act (Fourth Claim for Reliei).

To state a claim for unfair competition under the California Business and
Professions Code, Section 17200, et seq., l\/IcCall's must plead sufficient facts for the
court to infer that Defendants engaged in an “un]awful, un fair or fraudulent business act
or practice.” Cal. Bus. & Prof. Code § 17200 (West 2009). ln support ofits claim under
Section 17200, et seq., McCall's asserts that “Defendants‘ unauthorized use ochCall's
[t]rade [d]ress was an unlawful, unfair, and fraudulent business act and practice.” See,
McCall’s Complaint at il 41. As explained in Section 2A, sapra, however, McCall's has
not alleged sufficient facts for the Court to infer that Defendants used McCall's trade
dress

“Factual allegations must be enough to raise a right to relief above the speculative
level.” Bell Atlahtic Corp. v. Twombly, 550 U.S. 544 (2007); see also, 5 Charles Alan
Wright & Arthur R. Miller, Federal Practice and Procedure § 1356. Because l\/IcCall's
has not sufficiently alleged any unlawful, unfair, or fraudulent business practice, the

Court should dismiss l\/lcCall's claim for unfair competition under Section 17200, et seal

 

Defendants’ Motion to Dismiss Plaintil`f’s Com plaint for liailure to State a Claim (FRCP 12(h)(6)
Case No. 09 CV 0952 LAB BLM

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ase 3:09-cv-00952-LAB-BGS Document12-1 Filed 06/24/09 Page|D.G? Page 17 ot18

E. McCalI's Has Not Stated a Claim For Deceptive Trade
Practices Because It Has Not Alleged Any Deceptive or
Misleading Statements or Advertising (Fifth Claim for
Relief).

To state a claim for deceptive trade practices against Defendants under the
California Business and Professions Code, Section 17500, et seq., l\/lcCall's must plead
sufficient facts for the court to infer that the Defendants engaged in "unfair, deceptive,
untrue, or misleading advertising." Wil!iams v. Gerber Proclitcts Co., 552 F.3d 934, 938
(9th Cir. 2008) (citing Cal. Bus. and Prof. Code § 17500).

As discussed above in Section 213, sapra, l\/IcCall‘s has not identified any deceptive
or misleading statements or advertising by Defendants In the absence of such an
allegation, the Court cannot reasonably infer that Defendants are liable under Section
17500, et seq. Thus, the claim should be dismissed l

F. McCall's Has Not Stated a Claim for Common Law

Trademark Infringement and Unfair Competition
Because It Has Not Alleged a Likelihood of Confusion
(Sixth Claim for Relief).

The essential element of a claim for common law trademark infringement and
unfair competition under California law is the same as that for a claim for trademark
infringement under the Lanham Act: likelihood ofeonfasioh. M2 Software, 421 F.3d at
1080. Thus, McCall's claim for common law trademark infringement and unfair
competition should be dismissed for the same reasons as McCall's claims for trademark
infringement under the Lanham Act.

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l)el`endants’ lVIotion to Dismiss Plaintifl’s Complaint for Failure to State a Claim (FRCP 12(b)(6)
Case No. 09 CV 0952 LAB BLIV[

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IV.
CONCLUSION
For the reasons stated above, McCall’s Complaint should be dismissed in its
entirety because the Complaint does not contain sufficient factual allegations to support

any claim for relief.

Dated: June 24, 2009 MORRIS, SULLIVAN & LEMKUL, LLP

By: S/Will Lemkul
Wllsl_J LEMKUL (SBN 219061)
Lemkul@morrissullivanlaw.com
Attorney for DEFENDANTS MVP GROUP
INTERNATI()NAL, INC.; PAULA DEEN
ENTERPRISES, LLC.; PAULA DEEN
RETAIL, INC.; PAULA DEEN ONLINE, INC.

 

Defendants’ Motio:i to l)ismiss Plaintifl"s Complaint for Failure to State a Claim (FRCP lZ(b)(G)
Case No. 09 CV 0952 LAB BLM

_14_

 

